Case 3:18-cv-02458-BEN-DEB Document 67-1 Filed 12/26/19 PageID.1005 Page 1 of 5



    1   STACEY M. LEYTON (SBN 203827)
        Email: sleyton@altber.com
    2   ANDREW KUSHNER (SBN 316035)
        Email: akushner@altber.com
    3   ELIZABETH VISSERS (SBN 321365)
        Email: evissers@altber.com
    4   ALTSHULER BERZON LLP
        177 Post Street, Suite 300
    5   San Francisco, CA 94108
        Telephone: (415) 421-7151
    6   Facsimile: (415) 362-8064
    7   Attorneys for Intervenor-Defendant
        International Brotherhood of Teamsters
    8
    9                        UNITED STATES DISTRICT COURT

   10                      SOUTHERN DISTRICT OF CALIFORNIA

   11
                                                   Case No. 3:18-cv-02458-BEN-BLM
        CALIFORNIA TRUCKING
   12   ASSOCIATION, RAVINDER SINGH,               DECLARATION OF STACEY M.
        and THOMAS ODOM,                           LEYTON IN OPPOSITION TO
   13
                      Plaintiffs,                  REQUEST FOR A TEMPORARY
   14                                              RESTRAINING ORDER
               v.
   15                                              Hearing Date:    TBD
        XAVIER BECERRA, in his official            Time:            TBD
        capacity as the Attorney General of the    Courtroom:       5A
   16   State of California; JULIE SU, in her
        official capacity as Secretary of the      Judge:           Honorable
   17   California Labor Workforce and                              Roger T. Benitez
        Development Agency; ANDRE                  Action Filed:    October 25, 2018
   18   SCHOORL, in his official capacity as       Trial Date:      Not set
        the Acting Director of the Department
   19   of Industrial Relations of the State of
        California; and LILIA GARCIA-
   20   BROWER, in her official capacity as
        Labor Commissioner of the State of
   21   California, Division of Labor Standards
        Enforcement, PATRICK HENNING, in
   22   his official capacity as the Director of
        the Employment Development
   23   Department.
   24                 Defendants,
   25   and
   26   INTERNATIONAL BROTHERHOOD
        OF TEAMSTERS,
   27
                    Intervenor-Defendant.
   28



            LEYTON DECL. IN OPP. TO REQUEST FOR A TRO; Case No. 3:18-cv-02458-BEN-BLM
Case 3:18-cv-02458-BEN-DEB Document 67-1 Filed 12/26/19 PageID.1006 Page 2 of 5



    1   I, Stacey M. Leyton, hereby declare as follows:
    2         1.     I am a member in good standing of the bar of the State of California, a
    3   partner at the law firm Altshuler Berzon LLP, and one of the counsel of record for
    4   Intervenor-Defendant International Brotherhood of Teamsters (“IBT”) in this case.
    5   The facts set forth in this declaration are based on my personal knowledge, and if
    6   called to testify thereto, I could and would do so under oath.
    7         2.     At 4:41pm on December 20, 2019, I received an email from Plaintiffs’
    8   counsel asking whether State Defendants and the IBT would agree to a temporary
    9   restraining order pending the hearing on Plaintiffs’ preliminary injunction motion,
   10   which is currently scheduled for January 13, 2020. I responded to that email at
   11   5:15pm that same day with the following: “Can you please identify any specific
   12   state enforcement proceedings that you contend will take place between January 1
   13   and January 13, to inform our consideration of your request?” A true and correct
   14   copy of this December 20, 2019 email exchange is attached to this declaration as
   15   Exhibit A.
   16         3.     Plaintiffs’ counsel never responded to my email or otherwise
   17   identified any enforcement proceedings scheduled to occur before the preliminary
   18   injunction hearing.
   19         I declare under penalty of perjury under the laws of the United States that
   20   the foregoing is true and correct.
   21         Executed in San Francisco, California on December 26, 2019
   22
   23                                               /s/ Stacey M. Leyton
                                                      Stacey M. Leyton
   24
   25
   26
   27
   28


                                               1
             LEYTON DECL. IN OPP. TO REQUEST FOR A TRO; Case No. 3:18-cv-02458-BEN-BLM
Case 3:18-cv-02458-BEN-DEB Document 67-1 Filed 12/26/19 PageID.1007 Page 3 of 5




                            Exhibit A
       Case 3:18-cv-02458-BEN-DEB Document 67-1 Filed 12/26/19 PageID.1008 Page 4 of 5


Stacey Leyton

From:                                  Stacey Leyton
Sent:                                  Friday, December 20, 2019 5:15 PM
To:                                    Roginson, Robert R.; Jose ZelidonZepeda; Andrew Kushner
Cc:                                    Skeen, Spencer C.; Chemers, Alexander M. (Zander); Mendoza, Elizabeth C.; Elizabeth
                                       Vissers
Subject:                               RE: CTA v. Becerra


Bob,

Can you please identify any specific state enforcement proceedings that you contend will take place between January 1
and January 13, to inform our consideration of your request?

Thank you,
Stacey


Stacey Leyton
Altshuler Berzon LLP
177 Post Street, Suite 300
San Francisco, CA 94108
Phone: (415) 421-7151
Fax: (415) 362-8064
e-mail: sleyton@altshulerberzon.com
website: www.altshulerberzon.com

This e-mail may contain material that is confidential, privileged, and/or attorney work product for the sole use of the intended
recipient. Any review, reliance or distribution by others, or forwarding without express permission, is strictly prohibited. If you are not
the intended recipient, please contact the sender and delete all copies.

CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential and/or legally privileged information.
It is solely for the use of the intended recipient(s). Unauthorized interception, review, use or disclosure is prohibited and may violate
applicable laws including the Electronic Communications Privacy Act. If you are not the intended recipient, please contact the sender
and destroy all copies of the communication.




From: Roginson, Robert R. <robert.roginson@ogletree.com>
Sent: Friday, December 20, 2019 4:41 PM
To: Jose ZelidonZepeda <Jose.ZelidonZepeda@doj.ca.gov>; Stacey Leyton <sleyton@altshulerberzon.com>; Andrew
Kushner <akushner@altshulerberzon.com>
Cc: Skeen, Spencer C. <Spencer.Skeen@ogletreedeakins.com>; Chemers, Alexander M. (Zander)
<zander.chemers@ogletreedeakins.com>; Mendoza, Elizabeth C. <Elizabeth.Mendoza@ogletreedeakins.com>
Subject: CTA v. Becerra

Counsel,

We are in receipt of the Court’s notice this afternoon resetting the hearing date on Plaintiffs’ Motion for Preliminary
Injunction to January 13, 2020 (ECF #61).



                                                                    1
       Case 3:18-cv-02458-BEN-DEB Document 67-1 Filed 12/26/19 PageID.1009 Page 5 of 5
We write to request that Defendants and Intervener stipulate to a Temporary Restraining Order (TRO), or otherwise
agree, that all State Defendants will temporarily refrain from enforcing AB-5 against motor carriers and independent
owner-operator drivers following AB-5’s effective date on January 1, 2020, pending the Court’s resolution of Plaintiffs’
Motion for Preliminary Injunction.

Our request is based upon the grounds set forth more fully in our Motion for Preliminary Injunction, specifically that
Plaintiffs are likely to prevail on the merits of their claims, they will suffer irreparable injury if injunctive relief is not
granted, and the balance of equities and considerations of the public interest weigh in favor of the injunctive relief, as
well as the grounds that Plaintiffs have no other adequate legal remedy to preserve the status quo before the Court can
resolve Plaintiffs’ pending motion for preliminary injunction.

Please advise by Monday, December 23, 2019 at 11 a.m. PST if you will stipulate to this requested TRO.

Bob

Robert R. Roginson | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
400 South Hope Street, Suite 1200 | Los Angeles, CA 90071 | Telephone: 213-457-5873 | Fax: 213-239-9045
robert.roginson@ogletree.com | www.ogletree.com | Bio




This transmission is intended only for the proper recipient(s). It is confidential and may contain attorney-client privileged information. If you are not the proper
recipient, please notify the sender immediately and delete this message. Any unauthorized review, copying, or use of this message is prohibited.




                                                                                    2
